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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.

UNITED STATES OF AMERICA,

              Plaintiff,

v.


     1. $1,800,036.34 SEIZED FROM BB&T BANK ACCOUNT NUMBER
        0000148242925,

           Defendant.
______________________________________________________________________

              VERIFIED COMPLAINT FOR FORFEITURE IN REM
______________________________________________________________________

       The United States of America, by and through United States Attorney Jason R.

Dunn and Assistant United States Attorney Laura B. Hurd, pursuant to Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions G(2), states:

                             JURISDICTION AND VENUE

       1.     The United States of America (the United States) has commenced this

action pursuant to the civil forfeiture provisions of 18 U.S.C. § 981(a)(1)(C), seeking

forfeiture of defendant $1,800,036.34 seized from BB&T Bank Account number

0000148242925, as proceeds traceable to one or more violations of 18 U.S.C. § 1343.

       2.     This Court has jurisdiction under 28 U.S.C. §§ 1345 and 1355.

       3.     Venue is proper 28 U.S.C. § 1395, as the defendant property is located,

and some of the acts described herein occurred in the District of Colorado.

                              DEFENDANT PROPERTY

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      4.     Defendant property is more fully described as: Defendant $1,800,036.34

seized from BB&T Bank Account number 0000148242925. Defendant $1,800,036.34

seized from BB&T Bank Account number 0000148242925 (herein “defendant

$1,800,036.34 seized from BB&T Bank Account #2925”) was seized in the District of

Colorado and is currently being held by the United States Marshals Service, Denver,

Colorado.

                         FACTUAL BASIS FOR FORFEITURE

      5.     Except as otherwise noted, all of the following facts and information have

been discovered through my own investigation and observations, and the observations

and investigations of fellow law enforcement officers as reported to me.

         BACKGROUND OF THE BUSINESS EMAIL COMPROMISE SCHEME

      1.     In February 2020, the Federal Bureau of Investigation (“FBI”) began an

investigation into a scheme to obtain funds intended to be remitted from an account

associated with Northstar Commercial Partners to Brinkmann Constructors by fraudulent

means.

      2.      The scheme, commonly called a “Business Email Compromise” (BEC),

refers to an individual or group of individuals that targets a victim company, via email.

The BEC individual or group sends the victim company an email posing as a legitimate

vendor or associate of the victim company. The contents of the email often directs the

victim company employees to wire money to an account, or to modify existing banking

information for the legitimate vendor of the victim company. The account that the victim

company is directed to send money to is not actually associated with the legitimate


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vendor, but is an account used to facilitate the movement of the stolen funds to BEC

actors domestically and abroad.

                           UNDERLYING INVESTIGATION

        3.   On January 27, 2020, an employee of Northstar Commercial Partners

(“NCP”) located in Denver, Colorado, sent an email to an employee of Brinkmann

Constructors (“Brinkmann”), which did business with NCP and its affiliates, requesting

current wiring instructions. The purpose of the wire was for an account associated with

NCP, in the name of Ann Arbor Senior Living Owner LLC, to make a payment to

Brinkmann. The Brinkmann employee provided the wiring instructions, via email.

        4.   Later that same day, the NCP employee received another email that

appeared to be from the same Brinkmann employee with updated wiring instructions. The

new wiring instructions were for BB&T Bank account number 0000148242925. The BB&T

Bank account was not associated with NCP, Ann Arbor Senior Living Owner LLC, or

Brinkmann.

        5.   On January 27, 2020, after receiving the wiring instructions in the second

email that appeared to be from Brinkmann, a $3,000,000.00 wire transfer to BB&T Bank

account number 0000148242925 was made from an account in the name of Ann Arbor

Senior Living Owner LLC.

        6.   On January 30, 2020, an employee of Brinkmann contacted NCP and

inquired about the status of the payment, and was informed that the payment had been

sent.




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      7.      Upon further investigation, NCP employees discovered the email containing

the incorrect wiring instructions and suspected that the email was fraudulent.

      8.      On February 4, 2020, NCP filed a complaint with the FBI’s Internet Crime

Complaint Center providing some of the information set forth above.

           Defendant $1,800,036.34 Seized from BB&T Bank Account #2925

      9.      In January 2020, BB&T Bank Account #0000148242925 (BB&T Bank

Account #2925”) was opened in the name of Judy Wong, DBA One Thirty Payoff. Judy

Wong is the sole signatory on the account.

      10.     On January 24, 2020, the balance of BB&T Bank Account #2925 was

$500.00, which was comprised of a cash deposit made that day.

      11.     On approximately January 27, 2020, the above-referenced $3,000,000.00

was wire transferred into BB&T Bank Account #2925 from an account in the name of Ann

Arbor Senior Living Owner LLC.

      12.      On January 28 and January 30, 2020, $1,200,000.00 was withdrawn from

BB&T Bank Account #2925, via two checks, which were used to purchase five cashier’s

checks. BB&T Bank placed a stop payment on the cashier’s checks.

      13.     The only other withdrawals from the account were miscellaneous

withdrawals totaling $559.11.

      14.     The only other deposits in the account other than the $3,000,000.00 wire

transfer, totaled $653.00, which was comprised of the $500.00 cash deposit on January

24, 2020 and an additional cash deposit of $153.00 on January 31, 2020.




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                              FIRST CLAIM FOR RELIEF

      17.    The Plaintiff repeats and incorporates by reference each of the paragraphs

above.

      18.    By the foregoing and other acts, defendant $1,800,036.34 seized from

BB&T Bank Account #2925, constitutes or was derived from proceeds traceable to wire

fraud, in violation of 18 U.S.C. § 1343, and is therefore forfeitable pursuant to 18 U.S.C.

§ 981(a)(1)(C).

      WHEREFORE, the United States prays for entry of a final order of forfeiture for

defendant $1,800,036.34 seized from BB&T Bank Account #2925 in favor of the United

States, that the United States be authorized to dispose of the defendant $1,800,036.34

seized from BB&T Bank Account #2925 in accordance with law, and that the Court enter

a finding of probable cause for the seizure of the defendant $1,800,036.34 seized from

BB&T Bank Account #2925 and issue a Certificate of Reasonable Cause pursuant to 28

U.S.C. § 2465.

      DATED this 15th day of June 2020.

                                                Respectfully submitted,

                                                JASON R. DUNN
                                                United States Attorney

                                           By: s/Laura B. Hurd
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